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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                             :
 COMMONWEALTH OF PENNSYLVANIA, :
 acting by and through Philadelphia District :
 Attorney Lawrence S. Krasner,               :
                                             :           No. 2:24-cv-05823-GJP
                           Plaintiff,        :
                                             :
              v.                             :
                                             :
 ELON MUSK and AMERICA PAC,                  :
                                             :
                           Defendants.       :
                                             :

               PLAINTIFF’S EMERGENCY MOTION TO REMAND

       Pursuant to 28 U.S.C. § 1447 and Local Rule 7.1, Plaintiff, Philadelphia District

Attorney Lawrence S. Krasner, in the name of the Commonwealth of Pennsylvania,

moves for an order remanding this case to the Philadelphia Court of Common Pleas.

 I.    INTRODUCTION

       This Court should immediately remand this state-law action brought by DA

Krasner. Plaintiff seeks an emergency injunction to enjoin Defendants’ lottery that

violates Pennsylvania law and their conduct that violates the state’s consumer

protection law. The Complaint asserts only state law claims and is not subject to

removal under any theory advanced by Defendants.

       DA Krasner filed this case on Monday, October 28 and the Court of Common

Pleas scheduled a hearing on his Emergency Petition for Preliminary Injunctive Relief

today at 10 a.m. (October 31). Defendants waited until the night before the hearing (on

October 30, just before midnight) to file their removal of the lawsuit.

       There is no basis for removal of this state law action.
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       First, there is no federal question jurisdiction over the Complaint. The Complaint

asserts no federal claim; rather, it asserts state law claims for public nuisance for

operation of an illegal lottery, 18 Pa. C.S. § 5512, and under the state consumer

protection law (“UTPCPL”), 73 P.S. § 201-4.

       Second, Defendants attempt to create federal jurisdiction by arguing that the

Complaint “implicates” significant federal issues. That contention is baseless.

Defendants’ Notice of Removal misinterprets United States Supreme Court law and

disregards controlling Third Circuit law. There is no reasonable basis for their position.

See League of Women Voters of Pennsylvania v. Commonwealth of Pennsylvania, 921

F.3d 378, 384 (3d Cir. 2019) (no abuse of discretion for award of costs and fees when

removal lacks objectively reasonable basis).

       Third, there is no diversity of citizenship jurisdiction. See 28 U.S.C. § 1332(a);

Moor v. Cnty. of Alameda, 411 U.S. 693, 717 (1973). The Plaintiff is a state for purposes

of the removal statute, which is not a “citizen” that can be diverse from another party.

Further, the Notice misrepresents that the Complaint seeks civil penalties or

disgorgement. ECF 1, at 9. Instead, the Complaint seeks only injunctive relief. See Ex.

A (Complaint), pp. 20, 24 (wherefore clauses).

       As alleged in the Complaint, America PAC and Elon Musk are running their

lottery and awarding $1 million daily until Election Day. Brazenly, they have done so

every day since the filing of the Complaint -- including this morning, the day of the

scheduled hearing. Viewed properly, the Notice of Removal is a stunt to obtain a

procedural advantage to avoid a ruling on the Preliminary Injunction and run the clock

until election day. Plaintiff is ready, willing and able to address the Emergency Petition,

immediately upon a remand.


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II.    FACTUAL AND PROCEDURAL BACKGROUND

       The Complaint and accompanying Emergency Petition for Preliminary Injunction

were filed on October 28, 2024 to stop Defendants America PAC and Musk from

operating an illegal lottery in Philadelphia (and throughout Pennsylvania) (Count I),

and from engaging in unfair and deceptive practices in connection with the illegal

lottery (Count II). See generally Exhibit A (Complaint), Exhibit B (Emergency Petition

for Preliminary Injunction).

       Defendants launched their illegal lottery nine days earlier (October 19, 2024) in

Pennsylvania. Exhibit A (Compl.), ¶¶ 29-34. They announced that if a registered voter

(1) turns over their personal identifying information (i.e., address, cell phone number,

and e-mail address) and makes a political affirmation by signing a petition pledging

support for “the Constitution, especially freedom of speech and the right to bear arms”;

they (2) are eligible to be selected “randomly”; to (3) win $1 million. Id. ¶¶ 38-50. That

is a clear violation of Pennsylvania lottery law and is a public nuisance. 18 Pa. C.S.

§ 5512; Ex. A, ¶¶ 74-92. Defendants are also paying registered voters to sign up on their

Petition - $47 in swing states but $100 in Pennsylvania. Ex. A, ¶¶ 44-46.

       Further, the America PAC website claims that Pennsylvania registered voters will

receive $100 for providing their personal data and signing the petition, which is more

money than what is offered to voters in other battleground states (e.g., Georgia, Nevada,

Arizona, Michigan, Wisconsin, or North Carolina). Id. ¶¶ 44-47.

       Defendants’ scheme is a lottery under Pennsylvania law. And it is an unlawful

lottery because, under unambiguous Pennsylvania law, all lotteries in Pennsylvania

must be regulated by the Commonwealth of Pennsylvania. See 18 Pa. C.S. §5512(d) (“As

used in this section the term ‘unlawful’ means not specifically authorized by law.”); 72


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P.S. § 3761-301 et seq. The Commonwealth’s lottery law establishes a lottery to be

operated and administered by the state, for the benefit of those 65 years of age or older.

72 P.S. § 3761-101; 3761-303; 61 Pa. Code § 801.3. State regulations govern many

aspects of the lottery, including the procedures for claiming prizes and the use of lottery

funds, and even require the disclosure of the odds of a participant’s chances of winning.

See 61 Pa. Code § 801.1 et seq. (regulations). Further, under unambiguous Pennsylvania

law, the Pennsylvania General Assembly has declared that illegal lotteries are a public

“nuisance,” empowering law enforcement officers such as DA Krasner to seek an

injunction in court to stop them. 18 Pa. C.S. § 5512.

       Defendants’ illegal lottery scheme also violates the Commonwealth’s consumer

protection laws. In connection with their scheme, they are deploying deceptive, vague

or misleading statements that create a likelihood of confusion or misunderstanding. For

example, they have not published a complete set of lottery rules or shown how they are

protecting the privacy of participants’ personal information. Also, though Defendant

Musk says that a winner’s selection is “random,” that appears false; Pennsylvania

winners just happened to be in attendance at the America PAC rallies. Ex. A, ¶ 65. The

General Assembly’s consumer protection laws empower DA Krasner to seek an

injunction to stop that misconduct as well. See generally Ex. A, ¶¶ 93-115.

       The Complaint therefore asserts exclusively state law causes of action for public

nuisance (Count I) and under the Unfair Trade Practices and Consumer Protection Law

(“UTPCPL”), 73 P.S. §§ 201-1 to 201.9.3 (Count II).

       The Complaint does not raise any federal question nor state any claim for relief

arising under federal law. Id. ¶ 12. While it is true that Defendants’ state law lottery and

deceptive practices conduct may be motivated by Defendants’ election activities, that


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does not create federal question jurisdiction or any other basis for jurisdiction for this

Court. If Defendants engaged in an ordinary criminal act – say, shooting in broad

daylight voters from the opposing party – they would be subject to prosecution under

state law in a state court. That their purpose was to win a federal election would not

divest a state court of jurisdiction to hear the state law homicide prosecution.

       Accordingly, DA Krasner respectfully requests an immediate argument on this

Motion for Remand, if at all possible today, October 31, by this Court or the Emergency

Judge sitting today, so that the Court of Common Pleas can hear the pending Petition

for Emergency Preliminary Injunctive Relief.

III.   LEGAL STANDARD

       To effectuate a valid removal, Defendants must demonstrate that this Court has

original jurisdiction. 28 U.S.C. § 1441. Defendants have the “heavy burden of showing

that at all stages of the litigation the case is properly before the federal court.” Brown v.

Jevic, 575 F.3d 322, 326 (3d Cir. 2009). “This heavy burden is imposed to effectuate the

strong presumption against removal jurisdiction.” Boomerang Recoveries, LLC v. Guy

Carpenter & Co., LLC, 182 F. Supp. 3d 212, 217 (E.D. Pa. 2016) (internal citations

omitted). “If at any time before final judgment it appears that [this Court] lacks subject

matter jurisdiction,” this Court must remand the action to state court. 28 U.S.C.

§ 1447(c). “Removal statutes are to be strictly construed, with all doubts to be resolved

in favor of remand.” Brown, 575 F.3d at 326.

       Federal courts have limited subject-matter jurisdiction. Kokkonen v. Guardian

Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). Because jurisdictional limitations “spring[]

from the nature and limits of the judicial power of the United States,” they are

“inflexible and without exception,” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83,


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94–95 (1998), and courts have a “continuing obligation to assure that [they] have

jurisdiction.” Wayne Land & Mineral Grp. v. De. River Basin Comm’n, 959 F.3d 569,

574 (3d Cir. 2020) (quotations omitted). There is no jurisdiction here.

IV.    ARGUMENT

       Shortly before midnight on October 31 – less than twelve hours before the Court

of Common Pleas had ordered all parties to appear for a 10 a.m. emergency injunction

hearing—and three days after the District Attorney filed the Complaint — Defendants

Musk and America PAC filed a notice of removal. ECF No. 1. This notice asserts two

grounds for removal. First, Defendants contend that there is federal question

jurisdiction because the state law claims implicate significant federal issues, citing

Grable & Sons Metal Products, Inc. v. Darue Engineering & Manufacturing, 545 U.S.

308 (2005). Second, they assert that there is diversity jurisdiction because the District

Attorney is a citizen of Pennsylvania when litigating in civil matters, citing

Commonwealth by and through Krasner v. Attorney General, 309 A.3d 265, 276 (Pa.

Cmwlth. 2024).

       Both arguments are meritless and assert no grounds for removal. Respectfully,

remand of this exigent matter is warranted to allow the Court of Common Pleas to

proceed with its hearing – preferably later tonight or early tomorrow.

              A.     There Are “No Significant Federal Issues”
                     Underlying the Commonwealth’s Complaint.

       Defendants assert federal question jurisdiction exists because the Complaint

pleads “claims that are inherently federal in nature,” i.e., interference with the upcoming

election. See ECF 1 (Defs.’ Notice of Removal) at 2-6. Defendants rely on Grable & Sons




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Metal Products, Inc. v. Darue Engineering & Manufacturing, 545 U.S. 308 (2005), for

their federal question jurisdictional argument. They are plainly wrong.

       Where, as here, a complaint includes no federal cause of action, federal question

jurisdiction can arise only if the “plaintiff’s right to relief necessarily depends on a

resolution of a substantial question of federal law.” Empire Healthchoice Assurance,

Inc. v. McVeigh, 547 U.S. 677, 690 (2006). This branch of federal question jurisdiction

is a “special and small” category of cases providing an exceedingly narrow basis for

removal. MHA LLC v. HealthFirst, Inc., 629 F. App’x 409, 412 (3d Cir. 2015); see also

Grable, 545 U.S. at 313-14 (observing narrow exception for certain embedded federal

issues).

       Federal question jurisdiction cannot possibly exist over this dispute: (1) there are

no federal law issues to be determined; instead, this matter involves two state-law

claims concerning state-law issues; (2) the Complaint expressly disclaims that the

matter concerns any federal law issues; and (3) Defendants grossly misread Grable.

       First, the Complaint pleads two Pennsylvania state-law claims, one common-law

based and the other statutory. Count I (Public Nuisance) alleges Defendants are

operating an illegal lottery in violation of 18 Pa. C.S. § 5512; Count II (UTPCPL

Violations) alleges Defendants’ conduct and statements concerning their unlawful

lottery constitute deceptive conduct in violation of the Pennsylvania UTPCPL. Both

claims concern only issues of state law. Neither “necessarily” raises a federal law issue,

which is a required (but not sufficient) condition for the exercise of federal jurisdiction

under Grable. See City of Hoboken v. Chevron Corp., 45 F.4th 699, 707 (3d Cir. 2022),

cert. denied sub nom. Chevron Corp. v. City of Hoboken, New Jersey, 143 S. Ct. 2483

(2023) (“If plaintiffs say their claims are state-law claims, we almost always credit


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that.”). As Circuit Judge Stephanos Bibas explained in City of Hoboken v. Chevron

Corp., that is because plaintiffs are ‘the masters of their claims.’” Id.

       Second, the Complaint is clear: “this is not a case about whether Defendants have

violated state or federal laws prohibiting vote-buying. Instead, this case is very simple

because America PAC and Musk are indisputably violating Pennsylvania’s statutory

prohibitions against illegal lotteries and deceiving consumers.” Exhibit A (Compl.) ¶ 9.

“This is a Pennsylvania law matter, not a federal question. It is for this state court to

interpret the Commonwealth’s laws.” Id. ¶ 12. Again, as Judge Bibas makes clear, this

Court must credit Plaintiff’s allegations that this is a state-law matter. City of Hoboken,

45 F.4th at 707 (Plaintiff may “avoid federal jurisdiction by exclusive reliance on state

law. After all, they choose to sue, so they choose why.”).

       Third, Defendants grossly misread Grable. See ECF No. 1 (Defs.’ Notice of

Removal) at 2-6. Grable involved a quiet title action, the resolution of which turned on a

contested issue of federal law. Grable, 545 U.S. at 310-11. The Court explained, “the

question is, does a state-law claim necessarily raise a stated federal issue, actually

disputed and substantial, which a federal forum may entertain without disturbing any

congressionally approved balance of federal and state judicial responsibilities.” Id. at

314 (emphasis added).

       That has no bearing in this dispute. Here, there is no disputed or substantial

federal-law issue. The Complaint concerns only Pennsylvania public nuisance and

lottery law, and Pennsylvania UTPCPL law. Defendants attempt to invent a federal law

issue by contending political expenditure and free speech concerns are in play. That is

wrong. Courts have been clear that gambling activities are not considered speech.

Telesweeps of Butler Valley, Inc. v. Kelly, No. 3:12-CV-1374, 2012 WL 4839010, at *7


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(M.D. Pa. Oct. 10, 2012) (collecting cases), aff’d sub nom. Telesweeps of Butler Valley,

Inc. v. Att'y Gen. of Pennsylvania, 537 F. App’x 51 (3d Cir. 2013). And further, if the

speech concerns unlawful activity, “the government may restrict it and the inquiry

ends.” United States v. Bell, 414 F.3d 474, 480 (3d Cir. 2005) (affirming district court’s

finding that Bell’s website which advertised methods of evading payment of income

taxes was both misleading and unlawful, thereby acquiring no First Amendment

protection) (citing Bates v. State Bar of Arizona, 433 U.S. 350, 384 (1977) (“Advertising

concerning transactions that are themselves illegal obviously may be suppressed.”)).

       The gist of Defendants’ position appears to be that their alleged illegal lottery

violations concern a disputed federal issue because Plaintiff says their conduct is a

disguised effort to skirt federal vote-buying laws. That completely misses the mark. The

Supreme Court and Circuit law mandate that the question is whether the resolution of

the Complaint’s claims “necessarily” require the resolution of federal issues. Not so

here. The Court ruling on whether Defendants are running an illegal lottery does not

need to address any federal law issue. Same with respect to Defendants’ violations of

the consumer protection laws. The Court also does not have to rule on whether their

conduct violates any campaign finance laws.

       To be clear, federal election laws do not give rise to the Complaint’s causes of

action, and those causes of action do not turn on federal anti-vote-buying laws.

Defendants’ Notice tries to do what they cannot -- treat Grable as “a password opening

federal courts to any state action embracing a point of federal law.” City of Hoboken, 45

F.4th at 707. Merely asserting that a state-law claim implicates federal-law problems is

insufficient to raise a substantial federal question. Claims like Plaintiff’s that arise

under state law and whose “elements do not require resolving substantial, disputed


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federal questions” fail Grable’s test. Id. at 709. Respectfully, this Court should prohibit

Defendants from doing so here.

                B.    There is No Diversity Jurisdiction.

       There is no federal diversity jurisdiction over this dispute. The reason is simple:

Plaintiff is District Attorney Krasner, acting in the name of the Commonwealth of

Pennsylvania. Longstanding U.S. Supreme Court precedent provides that a state, the

real party in interest, is not a “citizen” that can be diverse to other citizens within the

meaning of 28 U.S.C. § 1332. Moor v. Cnty. of Alameda, 411 U.S. 693, 717 (1973). None

of Defendants’ contentions carry its burden to show the existence of diversity

jurisdiction.

       Defendants misstate the sole case on which they rely. Defendants initially

concede, as they must, that a district attorney acts as the state itself, not a “citizen” of

that state, and thus cannot be diverse from citizens of another state, when enforcing

criminal law. ECF 1, at 7 (citing Moor v. Cty. of Alameda, 411 U.S. 693, 717 (1973)). But

they argue that a district attorney is a “citizen” of the state when litigating civil matters.

Id. For this proposition, they rely on a single authority: Commonwealth by and

through Krasner v. Attorney General, 309 A.3d 265, 276 (Pa. Cmwlth. 2024), appeal

docketed, No. 8 EAP 2024 (Pa. February 26, 2024). That case says nothing of the sort.

       Krasner did not decide, or even mention, whether a district attorney is the state

or a citizen for diversity purposes when litigating civil cases. Defendants quote an

irrelevant snippet of that decision, without providing the context in which it was made.

When the opinion stated “[s]uch is not the case with civil matters,” it was not talking

about diversity citizenship or removal jurisdiction. Instead, it was talking about

whether the Attorney General could supersede a local district attorney and settle a state-


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law consumer claim being litigated by a district attorney. That is a purely state statutory

matter:

              Only in . . . limited circumstances, as prescribed by statute, may the
              Attorney General interfere with the district attorney's principal authority
              in criminal matters. . . .

              Such is not the case with civil matters. The General Assembly mandated
              that the Attorney General “shall represent” the Commonwealth in “any”
              civil action brought by the Commonwealth without limitation.

Id. (citing 71 P.S. § 732-204(c); other citation omitted). Defendant’s cherry-picking of

the opinion provides neither support for their diversity argument nor show that the DA

is not the “state” in civil enforcement actions.

       In fact, the Krasner decision supports Plaintiff’s position here. The Court

specifically noted, “[a]lthough district attorneys may bring suit under the UTPCPL, the

true party in interest is the Commonwealth, and not the local jurisdiction.”

Commonwealth by & through Krasner v. Att'y Gen., 309 A.3d 265, 273 (Pa. Commw.

Ct. 2024) (emphasis added). Where the real party in interest is the “state”, there is no

“citizen” under 28 U.S.C. § 1332 to be diverse from. Moor, 411 U.S. at 717.


       Defendants also misstate the allegations of the Complaint. Defendants, who

must demonstrate that the amount in controversy requirement is satisfied, falsely

suggest that the Complaint seeks fines and penalties under the UTPCPL. ECF 1, at 9. It

does not. The Complaint requests only non-monetary relief in the form on an injunction

to prohibit Defendants from their continual violations of Pennsylvania law. Ex. A, at

pp. 20, 24 (whereas clauses).




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              C.     The Court Should Expedite This Matter Because of
                     Ongoing Irreparable Harm and the Rapidly
                     Approaching Election.

       Removing parties bear the burden of establishing that removal is proper. See

Dukes v. U.S. Healthcare, Inc., 57 F.3d 350, 359 (3d Cir. 1995). And removing parties

must demonstrate that removal is proper based on the allegations in the complaint and

the notice of removal. See City of Hoboken v. Chevron Corp., 45 F.4th 699, 707 (3d Cir.

2022), cert. denied, 143 S. Ct. 2483, 216 L. Ed. 2d 447 (2023). In reviewing whether

removal is proper, courts are to “strictly construe” removal statutes and “all doubts

should be resolved in favor of remand.” Steel Valley Auth. V. Union Switch & Signal

Div., 809 F.2d 1006, 1010 (3d Cir. 1987). Failure to meet that burden requires

remanding improperly removed cases. City of Hoboken, 45 F.4th at 706.

       Expeditious ruling on motions to remand improperly removed matters is

appropriate in matters of immediate public importance. See, e.g., League of Women

Voters of Pa. v. Commonwealth of Pa., 921 F.3d 378, 381–82 (3d Cir. 2019)

(“Plaintiffs . . . filed an emergency motion to remand to state court. The United States

District Court scheduled a hearing for that afternoon on plaintiffs’ motion to

remand. . . . The District Court held its hearing . . . and then . . . remand[ed] the case to

state court.”).

       Justice delayed in stopping illegal activity that harms Philadelphians and

undermines their free, fair, and final elections is justice denied. Plaintiff respectfully

requests that this Court act with urgency.




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V.    CONCLUSION AND RELIEF REQUESTED

      For the foregoing reasons, Plaintiff, the Philadelphia District Attorney Lawrence

S. Krasner, acting in the name of the Commonwealth of Pennsylvania, respectfully

requests that this Court remand this case.

                                              HANGLEY ARONCHICK SEGAL
                                              PUDLIN & SCHILLER

 Dated: October 31, 2024                      By: /s/ John S. Summers
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